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for the

Southern District of Ohio

 

In the Matter of the Search of
(Briefly describe the property to he searched i ‘
or identify the person by name and address) Case No. PS £ 1 ¢ my q i 4 -
Information associated with the Dropbox accounts a es i
littteboysunder@yahoo.com, lovepics9@yahoo.com,
lovepics9@aol.com, and johnadams1.9@yahoo.com

APPLICATION FOR A SEARCH WARRANT

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1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that | have reason to believe that on the following person or property (identify the person or describe the
preperty ff. be pemmetey qa give its location);

ee Attachmen

located in the Northern District of California . there is now concealed sidemify the

person or describe the property to he seized):

See Attachment B-5

The basis for the search under Fed. R. Crim. P. 41 (c) 18 feheck one or more):
of evidence of a crime;
of contraband, fruits of crime, or other items illegally possessed:
mw property designed for use, intended for use, or used in committing a crime:

(1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
See Attachment C-5

The application is based on these facts:
See Attached Affidavit

a Continued on the attached sheet.
[1 Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Ouran, RO

Andrea R. Kinzig, Special Agent

Printed naimegnd title

 

Sworn to before me and signed in my presence.

Date: a 2-I% hyde vn

City and state: Dayton, Ohio Sharon L. Ovington, U.S. I

Printed name

   

gistrate Judge
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ATTACHMENT A-5
Property to Be Searched

Information associated with the Dropbox accounts associated with the email addresses
littleboysunder@yahoo.com, lovepics9@yahoo.com, lovepics9@aol.com, and
johnadams1.9@yahoo.com that is stored at premises owned, maintained, controlled, or
operated by Dropbox Inc., a company that accepts service of legal process at 185 Berry Street.

Suite 400, San Francisco, California, 94107.
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ATTACHMENT B-5
Particular Things to be Seized
I. Information to be disclosed by Dropbox Inc. (the “Provider”)

To the extent that the information described in Attachment A-5 is within the possession,
custody, or control of the Provider, including any records, files, logs, or information that has
been deleted but is still available to the Provider, or has been preserved pursuant to a request
made under 18 U.S.C. § 2703(f), the Provider is required to disclose the following information to
the government for each account or identifier listed in Attachment A-S:

a. All available user/subscriber details for the account, including: full name, user
identification number, birth date, gender, contact e-mail addresses, passwords, security
questions and answers, telephone numbers, screen names, websites, and other personal
identifiers:

b. All files downloaded and/or uploaded by the user account, including any deleted files:

c. All activity logs for the account, including but not limited to auth.txt logs, uploag.html
files, report.txt files, links.txt files, and any logs reflecting the deletion of files:

d. Records of any Dropbox links posted by the account user, and records of any other users
who accessed these links;

e. Records of any Dropbox links accessed by the account user, and records of the ori ginal
poster of those links;

f. All information related to the account’s settings, including but not limited to linked
devices, linked Facebook and Twitter accounts, etc.:

g. The length of service (including start date);
h. Any payment information related to the account, including full credit card numbers.
Notwithstanding 18 U.S.C. § 2252/2252A or any similar statute or code, Dropbox Inc.

shall disclose responsive data by sending it to the Federal Bureau of Investigation at 7747 Clyo
Road, Centerville, Ohio, 45459.
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Il. Information to be seized by the government

Items evidencing violations of 18 U.S.C. §§ 18 U.S.C. §2251(d) (advertisement of child
pornography); 18 U.S.C. §§ 2252(a)(2)(B) and (b)(1) and 2252A(a)(2) and (b)(1) (receipt and
attempted receipt of child pornography); 2252(a)(4)(B) and (b)(1) and 2252A(a)(5)(B) and (b)(1)
(possession and attempted of child pornography); and 18 U.S.C. $2423 (b) and (e) (travel or
attempted travel in interstate commerce with the intent to engage in illicit sexual conduct),
including but not limited to the following:

a. Any visual depictions and records related to the possession, receipt, and
advertisement of child pornography and the travel with the intent to engage in
illicit sexual conduct:

b. Any visual depictions of minors and any associated contact information for these
minors and their guardians;

c. Any information regarding child pornography files shared with others:
d. Evidence of utilization of aliases and fictitious names:

Evidence of utilization of the account names boysunder9, Bigman23.,
Littledicklover, and Babyboys.

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f. Any records or other information related to the possession, receipt, and
advertisement of child pornography and the travel with the intent to engage in
illicit sexual conduct:

g. Any information related to Internet Protocol (IP) addresses accessed by the
account;

h. Information relating to who created, used, or communicated with the account.
including records about their identities and whereabouts.
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ATTACHMENT C-5

Code Section Offense Description

18 U.S.C. §2252(a)(4)(B) & (b)(1) Possession or Attempted Possession of Child
Pornography

18 U.S.C. §2252A(a)(5)(B) & (b)(1) Possession or Attempted Possession of Child
Pornography

18 U.S.C. §2252(a)(2)(B) & (b)(1) Receipt or Attempted Receipt of Child Pornography

18 U.S.C. §2252A(a)(2) & (b)\(1) Receipt or Attempted Receipt of Child Pornography

18 U.S.C. §2251(d) Advertisement of Child Pornography

18 U.S.C. §2423(b) & (e) Travel or Attempted Travel with Intent to Engage in

Ilicit Sexual Activity
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AFFIDAVIT IN SUPPORT OF SEARCH WARRANTS
I, Andrea R. Kinzig, being duly sworn, depose and state the following:
INTRODUCTION

| ama Special Agent (SA) with the Federal Bureau of Investigation (FBI), and have been so
employed since 2005. | am currently assigned to the Dayton, Ohio Resident Agency of the
Cincinnati Field Office. In connection with my official duties, | investigate violations of
federal criminal laws, including offenses pertaining to the illegal production, distribution,
receipt, and possession of child pornography (in violation of 18 U.S.C. §§ 2252(a) and
2252A) and coercion and enticement (in violation of 18 U.S.C. $2422). Ihave received
training in the area of child pornography and child exploitation and have had the opportunity
to observe and review numerous examples of child pornography (as defined in 18 U.S.C. §
2256) in various forms of media, including computer media.

Along with other agents and investigators of the FBI, | am currently involved in an
investigation of child exploitation offenses committed by TYLER ULM. This Affidavit is
submitted in support of Applications for search warrants for the following:

a. Information associated with the Google accounts tylerjulm22@gmail.com,
tylerjulm@gmail.com, and damonvaughn0(@gmail.com that is stored at premises
controlled by Google Inc. (as more fully described in Attachment A-1 );

b. Information associated with the email accounts lovepics9@yahoo.com,
d9underboy@yahoo.com, kids9nunder@yahoo.com,
littleboysunder@yahoo.com, johnadams1 .I@yahoo.com,
tylerjulm@yahoo.com, and
omkexddwbkit3s2eatevv5zx3bne75kjo4kfarxo@yahoo.com and the Flickr
NSID’s 146969803(@N06, 150137400@NO03, 146772605@N03, 145287374@N02,
161195535@N07, and 147418551(@N04 that is stored at premises controlled by
Oath Holdings Inc. (as more fully described in Attachment A-2):

C Information associated with the email accounts ahopping0406(@aol.com and
lovepics9@aol.com that is stored at premises controlled by Oath Inc. (as more fully
described in Attachment A-3):

  

d. Information associated with the Facebook User ID Tyler.UIm.7 that is stored at
premises controlled by Facebook Inc. (as more fully described in Attachment A-4);

Information associated with the Dropbox accounts associated the email addresses
littleboysunder@yahoo.com, lovepics9@yahoo.com, lovepics9@aol.com, and

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johnadams1.9@yahoo.com that is stored at premises controlled by Dropbox Inc. (as
more fully described in Attachment A-5).

The purpose of the Applications is to seize evidence of violations of 18 U.S.C. §§
2252(a)(4)(B) and (b)(1) and 2252A(a)(5)(B) and (b)(1), which make it a crime to possess or
attempt to possess child pornography: violations of 18 U.S.C. §§ 2252(a)(2)(B) and (b)(1)
and 2252A(a)(2) and (b)(1), which make it a crime to receive or attempt to receive child
pornography through interstate commerce; violations of 18 U.S.C. § 2251(d), which make it
a crime to advertise child pornography; and violations of 18 U.S.C. § 2423(b) and (e), which
make it a crime to travel or attempt to travel in interstate commerce with the intent to engage
in illicit sexual conduct. The items to be searched for and seized are described more
particularly in Attachments B-1 through B-5 hereto.

As part of the investigation, I have reviewed documentation and reports provided by and
discussed information with other agents and investigators involved in the investigation. For
purposes of this Affidavit, | have not distinguished between information of which | have
direct knowledge and that of which I have hearsay knowledge.

This Affidavit does not contain every fact known to the investigation, but only those deemed
necessary to demonstrate sufficient probable cause to support the searches of the above
noted accounts (as described in Attachments A-] through A-5).

As a result of the instant investigation described more fully below, there is probable cause to
believe that evidence, fruits, and instrumentalities of violations of federal law, including 18
U.S.C. §§ 2252(a)(4)(B) and (b)(1), 2252A(a)(5)(B) and (b)(1), 2252(a)(2)(B) and (b)(1),
2252A(a)(2) and (b)(1), 2251(d), and 2423(b) and (e), are present within the information
associated with the above noted accounts (as described in Attachments A-1| through A-5).

JURISDICTION

This court has jurisdiction to issue the requested warrants because it is “a court of competent

Jurisdiction” as defined by 18 U.S.C. 8 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) & (e)(1)(A).

Specifically, the Court is “a district court of the United States .. . that — has jurisdiction over
the offense being investigated.” 18 U.S.C. § 271 1(3)(A)Q).

BACKGROUND INFORMATION
Pertinent Federal Statutes
18 U.S.C. § 2251(d) states that it is a violation for (1) any person to knowingly make, print.
or publish, or cause to be made, printed, or published, any notice or advertisement seeking

or offering: (A) to receive, exchange, buy, produce, display, distribute, or reproduce any
visual depiction, if the production of such visual depiction involves the use of a minor

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engaging in sexually explicit conduct and such visual depiction is of such conduct: or (B)
participation in any act of sexually explicit conduct by or with any minor for the purpose of
producing a visual depiction of such conduct; (2) if such person knows or has reason to
know that such notice or advertisement will be transported using any means or facility of
interstate or foreign commerce or in or affecting interstate or forei gn commerce by any
means including by computer or mailed: or such notice or advertisement is transported using
any means or facility of interstate or foreign commerce or in or affecting interstate or foreign
commerce by any means including by computer or mailed.

IS US.C. § 2252(a)(2)(B) and (b)(1) states that it is a violation for any person to knowingly
receive or distribute any visual depiction using any means or facility of interstate or foreign
commerce or that has been mailed. shipped, or transported in or affecting interstate or
foreign commerce or which contains materials which have been mailed or so shipped or
transported by any means, including by computer, or to knowingly reproduce any visual
depiction for distribution using any means or facility of interstate or foreign commerce or in
or affecting interstate or foreign commerce or through the mails if the producing of such
visual depiction involves the use of a minor engaging in sexually explicit conduct and such
visual depiction is of such conduct, or attempt to do so.

18 U.S.C. § 2252A(a)(2) and (b)(1) states that it is a violation for any person to receive or
distribute — (A) any child pornography that has been mailed, or using any means or facility
of interstate or foreign commerce shipped or transported in or affecting interstate or foreign
commerce by any means, including by computer; and (B) any material that contains child
pornography that has been mailed, or using any means or facility of interstate or foreign
commerce shipped or transported in or affecting interstate or forei gn commerce by any
means, including by computer, or attempt to do so.

18 U.S.C. § 2252(a)(4)(B) and (b)(1) states that it is a violation for any person to knowingly
possess, or knowingly access with the intent to view, One or more matters which contain any
visual depiction that has been mailed. or has been shipped or transported using any means or
facility of interstate or foreign commerce or in or affecting interstate or forei gn commerce,
or which was produced using materials which have been mailed or so shipped or
transported, by any means including by computer if the producing of such visual depiction
involves the use of a minor engaging in sexually explicit conduct and such visual depiction
is of such conduct, or attempt to do so.

18 U.S.C. § 2252A(a)(5)(B) and (b)(1) states that it is a violation for any person to
knowingly possess, or knowingly access with intent to view. any book, magazine,
periodical, film, videotape, computer, disk, or any other material that contains an image of
child pornography that has been mailed. or shipped or transported using any means or
facility of interstate or forei gn commerce or in or affecting interstate or forei gn commerce
by any means, including by computer, that was produced using materials that have been

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mailed, or shipped or transported in or affecting interstate or foreign commerce by any
means, including by computer, or attempt to do so.

For purposes of these statutes, the term “sexually explicit conduct” is defined in 18 U.S.C. §
2256(2) as:

a. “Actual or simulated —
i. Sexual intercourse, including genital-genital, oral-genital, anal-genital, or
oral-anal, whether between persons of the same or opposite sex:
il. Bestiality:
lil. Masturbation:
iv. Sadistic or masochistic abuse: or
v. Lascivious exhibition of genitals or pubic area of any person.”

18 U.S.C. § 2423(b) and (e) states that it is a violation for any person to travel in interstate
commerce or travel into the United States, or a United States citizen or an alien admitted for
permanent residence in the United States to travel in foreign commerce, for the purpose of
engaging in any illicit sexual conduct with another person, or attempt to do so,

Definitions

The following definitions apply to this Affidavit and Attachments B-] through B-5 to this
Affidavit:

a. “Child Pornography” includes the definition in Title 18 U.S.C, § 2256(8) (any
visual depiction of sexually explicit conduct where (a) the production of the visual
depiction involved the use of a minor engaged in sexually explicit conduct. (b) the
visual depiction is a digital image, computer image, or computer-generated image
that is, or is indistinguishable from, that of a minor engaged in sexually explicit
conduct, or (c) the visual depiction has been created. adapted, or modified to appear
that an identifiable minor is engaged in sexually explicit conduct).

b, “Visual depictions” include undeveloped film and videotape, and data stored on
computer disk or by electronic means, which is capable of conversion into a visual
image (see 18 U.S.C. § 2256(5)).

c. “Minor” means any person under the age of eighteen years (see 18 U.S.C. §
2256(1)).

d. “Sexually explicit conduct” means actual or simulated (a) sexual intercourse,
including genital-genital, oral-genital, or oral-anal, whether between persons of the
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same or opposite sex; (b) bestiality; (c) masturbation: (d) sadistic or masochistic
abuse: or (e) lascivious exhibition of the genitals or pubic area of any person (see 18
U.S.C. § 2256(2)).

“Internet Service Providers” or “ISPs” are commercial organizations which
provide individuals and businesses access to the Internet. [SPs provide a range of
functions for their customers, including access to the Internet, web hosting, e-mail,
remote storage, and co-location of computers and other communications equipment.
ISPs can offer various means by which to access the Internet including telephone
based dial-up, broadband based access via a digital subscriber line (DSL) or cable
television, dedicated circuits, or satellite based subscription. ISPs typically charge a
fee based upon the type of connection and volume of data, called bandwidth that the
connection supports. Many ISPs assign each subscriber an account name such as a
user name or screen name, an e-mail address, and an e-mail mailbox, and the
subscriber typically creates a password for the account. By using a computer
equipped with a telephone or cable modem, the subscriber can establish
communication with an ISP over a telephone line or through a cable system, and can
access the Internet by using his or her account name and password.

An “Internet Protocol address”, also referred to as an “IP address”, is a unique
numeric address that computers or electronic devices use in order to communicate
with each other on a computer network utilizing the Internet Protocol (IP) standard.
Every computer or device connected to the Internet is referenced by a unique IP
address. An IP address can be thought of as the equivalent to a street address or a
phone number, just as each street address and phone number uniquely identifies a
building or telephone. IP addresses are composed of four sets of digits known as
“octets,” ranging in value from 0-255, separated by decimal points. An example of
an IP address is 192.168.10.102. There are two types of IP addresses; static and
dynamic. A static address is permanently assigned to a particular device and as a
practical matter never changes. A dynamic address provided by an Internet service
provider to a client computer is valid only for the duration of the session that the
client computer is connected to the Internet (or other network).

A network “server,” also referred to as a “host.” is a computer system that has been
designated to run a specific server application or applications and provide requested
services to a “client” computer. A server can be configured to provide a wide variety
of services over a network, including functioning as a web server, mail server,
database server, backup server, print server, FTP (File Transfer Protocol) server.
DNS (Domain Name System) server, to name just a few.

A “client” is the counterpart of a server or host. A client is a computer system that
accesses a remote service on another computer by some kind of network. Web
browsers (like Internet Explorer or Safari) are clients that connect to web servers and
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retrieve web pages for display. E-mail clients (like Microsoft Outlook or Eudora)
retrieve their e-mail from their Internet service provider's mail storage servers.

“Domain Name” refers to the common, easy to remember names associated with an
IP address. For example, a domain name of “www.usdoj.gov” refers to the IP
address of 149.101.1.32. Domain names are typically strings of alphanumeric
characters, with each level delimited by a period. Each level, read backwards — from
right to left — further identifies parts of an organization. Examples of first level. or
top level domains are typically *.com” for commercial organizations, *.gov” for the
governmental organizations, “.org” for organizations, and, “.edu” for educational
organizations. Second level names will further identify the organization, for
example “usdoj.gov” further identifies the United States governmental agency to be
the Department of Justice. Additional levels may exist as needed until each machine
is uniquely identifiable. For example, www.usdoj.gov identifies the World Wide
Web server located at the United States Department of Justice, which is part of the
United States government. The Domain Name System, also referred to DNS. is a
system of servers connected to each other using a common system of databases that
resolve a particular domain name. such as ~www.usdoj.gov,” to its currently
assigned IP address (i.e., 149.101.1.32). to enable the follow of traffic across the
Internet.

“Log Files” are records automatically produced by computer programs to document
electronic events that occur on computers. Computer programs can record a wide
range of events including remote access. file transfers, logon/logoff times. and
system errors. Logs are often named based on the types of information they contain.
For example, web logs contain specific information about when a website was
accessed by remote computers: access logs list specific information about when a
computer was accessed from a remote location; and file transfer logs list detailed
information concerning files that are remotely transferred,

“Hyperlink” (often referred to simply as a “link”) refers to a navigation element in a
web page or document that automatically brings the referred information (a.k.a.
“resource”) to the user when the navigation element is selected by the user,
Hyperlinks are part of the foundation of the World Wide Web, but are not limited to
a website for HTML.

“Website” consists of textual pages of information and associated graphic images,
The textual information is stored in a specific format known as Hyper-Text Mark-up
Language (HTML) and is transmitted from web servers to various web clients via
Hyper-Text Transport Protocol (HTTP).

“Uniform Resource Locator” or “Universal Resource Locator” or “URL” is the
unique address for a file that is accessible on the Internet. For example, a common
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way to get to a website is to enter the URL of the website’s home page file in the
Web browser’s address line. Additionally, any file within that website can be
specified with a URL. The URL contains the name of the protocol to be used to
access the file resource, a domain name that identifies a specific computer on the
Internet, and a pathname, a hierarchical description that specifies the location of a
file in that computer.

A “Smartphone” is a mobile cellular telephone that performs many of the functions
of a computer, typically having a touchscreen interface, Internet access, and an
operating system capable of running downloaded applications.

Wi-Fi is a technology that allows electronic devices to connect to a wireless LAN
network. Devices that use Wi-Fi technology include personal computers, video
game consoles. smartphones, digital cameras, tablets, and modern computers.

The terms “records.” “documents,” and “materials,” as used herein, include all
information recorded in any form, visual or aural, and by any means, whether in
handmade form (including, but not limited to, writings, drawings, painting),
photographic form (including, but not limited to, microfilm, microfiche, prints,
slides, negatives, videotapes, motion pictures, photocopies), mechanical form
(including, but not limited to, phonograph records, printing, typing) or electrical,
electronic or magnetic form (including, but not limited to, tape recordings, cassettes,
compact discs, electronic or magnetic storage devices such as floppy diskettes. hard
disks, CD-ROMs, digital video disks (DVDs), Personal Digital Assistants (PDAs).
Multi Media Cards (MMCs), memory sticks, optical disks, printer buffers, smart
cards, memory calculators, electronic dialers, or electronic notebooks, as well as
digital data files and printouts or readouts from any magnetic, electrical or electronic
storage device).

Characteristics of Collectors of Child Pornography

Based upon my knowledge, training, and experience in child pornography investigations,
and the training and experience of other law enforcement officers with whom | have had
discussions, there are certain characteristics common to individuals involved in the
collection of child pornography (hereafter “collectors”):

a.

b.

Collectors may receive sexual stimulation and satisfaction from contact with
children, or from having fantasies of children engaged in sexual activity or
suggestive poses, or from literature describing such activity.

Collectors may collect sexually explicit or suggestive materials in a variety of media,
including photographs, magazines, motion pictures, videotapes, books. slides and/or
drawings or other visual media. Collectors typically use these materials for their
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own sexual arousal and gratification. Collectors often have companion collections of
child erotica. Child erotica are materials or items that are sexually suggestive and
arousing to pedophiles, but which are not in and of themselves obscene or
pornographic. Such items may include photographs of clothed children, drawings.
sketches, fantasy writings, diaries, pedophilic literature and sexual aids.

Collectors who also actively seek to engage in sexual activity with children may use
these materials to lower the inhibitions of a child they are attempting to seduce.
convince the child of the normalcy of such conduct, sexually arouse their selected
child partner, or demonstrate how to perform the desired sexual acts.

Collectors almost always possess and maintain their “hard copies” of child
pornographic images and reference materials (e.g., mailing and address lists) in a
private and secure location. With the growth of the Internet and computers, a large
percentage of most collections today are in digital format. Typically these materials
are kept at the collector's residence for easy access and viewing. Collectors usually
place high value on their materials because of the difficulty, and legal and social
danger, associated with acquiring them. As a result. it is not uncommon for
collectors to retain child pornography for long periods of time. even for years.
Collectors often discard child pornography images only while “culling” their
collections to improve their overall quality.

Collectors also may correspond with and/or meet others to share information and
materials. They may save correspondence from other child pornography
distributors/collectors, including contact information like email addresses, and may
conceal such correspondence as they do their sexually explicit material.

Collectors prefer not to be without their child pornography for any prolonged time
period. This behavior has been documented by law enforcement officers involved in
the investigation of child pornography throughout the world.

Subscribers to websites that are primarily designed to provide child pornography
have a strong likelihood of being collectors of child pornography. This high degree
of correlation between subscription and collection behavior has been repeatedly
confirmed during several recent nationwide law enforcement initiatives.

Use of Computers and the Internet with Child Pornography

Computers and computer technology have revolutionized the way in which child
pornography is produced, distributed, and utilized. It has also revolutionized the way in
which child pornography collectors interact with each other, as well the methods that
individuals will use to interact with and sexually exploit children. Computers serve four
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functions in connection with child pornography: production; communication: distribution
and storage.

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Production: Pornographers can now produce both still and moving images directly
from a common video camera. The camera is attached, using a cable, directly to the
computer using a device called a video capture board. This device turns the video
output into a form that is usable by computer programs. The output of the video
camera can be stored, manipulated, transferred or printed directly from the computer.
The captured image can be edited (1.e., lightened, darkened, cropped, digitally
enhanced, e/c.) with a variety of commonly available graphics programs. The
producers of child pornography can also use scanners to convert hard-copy
photographs into digital images.

Communication. Previous| y. child pornography collectors had to rely on personal
contact. U.S. mail, and telephonic communications in order to sell, trade, or market
pornography. Today most communications associated with the trafficking of child
pornography occur via the obscurity and relative anonymity of the Internet. A
device known as a modem allows any computer to connect to the Internet via
telephone lines or broadband Internet connections. Once connected to the Internet.
individuals search for and/or offer to distribute child pornography in a wide variety
of ways. Many individuals congregate in topic-based Internet chat rooms implicitly
or explicitly dedicated to child pornography. Online discussions in these chat rooms
are usually done via instant message (or “IM”), and individuals may then establish
One-on-one chat sessions involving private messages (or “PMs”), visible only to the
two parties, to trade child pornography. These child pornography images may be
attachments to the PMs, or they may be sent separately via electronic mail between
the two parties. Pedophile websites communicate advertisements for the sale of
child pornography, and individuals may order child pornography {rom these websites
using email or send order information from their web browser (using HTTP
computer language). Some individuals communicate via Internet Relay Chat (IRC)
to discuss and trade child pornography images. It is not uncommon for child
pornography collectors to engage in mutual validation of their interest in such
material through Internet-based communications,

Distribution. Computers and the Internet are the preferred method to distribute
child pornography. As discussed above. such images may be distributed via
electronic mail (either as an attachment or embedded image), or through instant
messages as attachments. Child pornography is regularly downloaded from servers
or Usenet newsgroups via a method known as FTP (file transter protocol). Child
pornography images are also distributed from websites via client computers web
browsers downloading such images via HTTP (Hyper Text Transfer Protocol).
Peer-to-peer networks such as LimeWire and Gnutella are an increasi ngly popular
method by which child pornography images are distributed over the Internet.

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d, Storage. The computer's capability to store images in digital form makes it an ideal
repository for pornography. A single floppy disk can store dozens of images and
hundreds of pages of text. The size of computer hard drives used in home computers
has grown tremendously within the last several years. Hard drives with the capacity
of two hundred (200) gigabytes are not uncommon. These drives can store
thousands of images at very high resolution. Remote storage of these images on
servers physically removed from a collector's home computer adds another
dimension to the equation. It is possible to use a video camera to capture an image.
process that image in a computer with a video capture board, and save that image to
storage in another country. Once this is done. there is no readily apparent evidence
at the scene of the crime. Only with careful laboratory examination of electronic
Storage devices is it possible to recreate the evidence trail.

Google Services

Google Inc. is a multi-national corporation with its headquarters located in Mountain View.
California. The company specializes in Internet-related products and services. including an
Internet search engine (www.google.com), productivity tools such as email service (gmail),
and enterprise products such as Google Search Appliance.

Google Photos is a photograph and video sharing and storage service provided by Google
Inc., located at photos.google.com. It allows users to back-up their photographs and videos
so they can be accessed on any telephone, tablet, or computer. It also allows users to pool
their photographs and videos together with others into shared albums. Photographs and
videos can be organized and searched by places and things in them.

Google+ is a social networking and identity service website owned and operated by Google
Inc., located at www.plus.google.com. Common features include the following:

a. Profiles: Users can establish profile pages to maintain personal information, similar
to the Facebook and MySpace social networking sites,

b, Circles: Google+ allows users to establish “circles”, which enables them to organize
people into groups for sharing across various Google products and services. This
service replaces the typical “Friends” list function used by sites such as Facebook
and MySpace.

Cc. Communities: Communities allow users with common interests to communicate
with each other.
d. Photos: Google+ allows users to post, back-up, and share photographs. Users can

also make comments on photographs posted by other users,
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e. Hangouts: Hangouts are places used to facilitate group video chat. Only Google+
users can join such chats,

f. Messenger: Messenger is a feature available to Android, iPhone, and SMS devices
for communicating through instant messaging within Circles.

Google Web and App History is a feature of Google Search in which a user’s search queries
and results and activities on other Google services are recorded. The feature is only
available for users logged into a Google account. A user's Web and App History is used to
personalize search results with the help of Google Personalized Search and Google Now,

Google Drive is a file storage and synchronization service provided by Google Inc., located
at www.drive.google.com. This service provides cloud storage, file sharing, and
collaborative editing capabilities. It offers 15 GB of online storage space, which is usable
across Google Drive, Gmail, and other Google services.

Google Android Backup is a service provided by Google Inc. to backup data connected to
users’ Google accounts. The service allows users to restore data from any Google account
that has been backed up in the event that the users’ devices are replaced or erased. Data that
can be backed up includes Google Calendar settings, WiFi networks and passwords, home
screen wallpapers, Gmail settings. applications installed through Google Play, display
settings, language and input settings, date and time, and third party application settings and
data.

Yahoo Services

Oath Holdings Inc. currently operates Yahoo products. Oath Holdings Ine. is a global
Internet business and consumer services company headquartered in Sunnyvale, California.
Itis wholly owned by Verizon Communications. Oath Holdings Inc. offers a
comprehensive branded network of properties and services, many of which are free.

Yahoo Chat and Yahoo Messenger are two distinct Yahoo products, although users may
only access chat rooms via Yahoo Messenger. Yahoo also offers two forms of Messenger —
a downloadable client and a version that is accessible on the web. Web-based Messenger
may be accessed at messenger.yahoo.com or via Yahoo’s new mail interface.

a. For Yahoo Chat and all forms of Messenger, Yahoo has log information regarding
the use of the services. Yahoo maintains a “Friends List” for users of Yahoo
Messenger and can determine from its logs the times and dates that users logged into
Messenger or Chat and the IP addresses used. Yahoo also can retrieve from its Chat
and Messenger logs the names of the chat rooms that users accessed and the Yahoo
IDs of the other people with whom users communicated through Messenger during
the prior 45 to 60 days.
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b. For web-based Messenger, Yahoo may be able to access the contents of
communications if at least one party to the communications elected to archive the
conversation on Yahoo’s servers. Yahoo does not archive the contents of
communications for the downloadable Messenger client.

26. Flickr is an image hosting and video hosting website and web services suite. It serves as a
popular website to share and embed photographs. Images can be uploaded into their
sequential “photostream” and displayed in a variety of views, including a justified view, a
slideshow, a “detail” view, or a date stamped archive. Clicking on a photostream image
opens it in the interactive “photopage” alongside data, comments, and facilities for
embedding images on external websites.

a. Users can label their uploaded images with titles and descriptions, and images can be
tagged either by the uploader or by other users. if the uploader permits it. These text
components enable computer searching of Flickr.

b, Users can organize their Flickr photos into “albums”. Flickr provides code to embed
albums into blogs, websites, and forums. Geotagging can be applied to photos in
albums, and any albums with geotagging can be related to a map using imapflickr.
The resulting map can be embedded in a website. Flickr albums may be organized
into “collections”, which can themselves be further organized into higher-order
collections.

C. Organizr is a web application for organizing photos within a Flickr account that can
be accessed through the Flickr interface. It allows users to modify tags, descriptions
and set groupings, and to place photos on a world map.

27. Yahoo Profiles is a central control panel for online activity, making it easy for people to

manage their identities, activities, interests, and connections. and giving users the
opportunity to share this information on the web. Each profile includes a basic user card
that contains a user’s photo (or avatar), nickname, name, age, sex, and location. The profiles
also give users the ability to post basic information about their school, work, interests,
relationship status, etc. Users will be able to see the other users they are connected to as
friends, and there is a section on the profile where a user can see updates from his or her
connections. Each profile also includes a “guestbook” where visitors to a profile page can
make comments. Yahoo stores the contents of users’ current profiles. Yahoo also logs the
IP addresses and dates and times of new content added to a profile.

AQL Services
28. Oath Inc. currently operates AOL, formerly known as America Online and AOL Inc. AOL
is a web portal and online service provider based in New York that is wholly owned by

Verizon Communications. AOL offers a range of integrated products and properties,
including dial-up Internet access, AOL Mail (an email service), AOL Instant Messenger

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(AIM), and AOL Plans. Oath Ine, currently accepts service of legal process for AOL
products at its office location in Dulles. Virginia.

Email Accounts

Google allows subscribers to obtain e-mail accounts at the domain name gmail.com. like the
accounts listed in Attachment A-1. Yahoo (which is operated by Oath Holdings Inc.) allows
subscribers to obtain e-mail accounts at the domain name yahoo.com, like the accounts
listed in Attachment A-2. AOL (which is also owned by Oath Inc.) allows subscribers to
obtain e-mail accounts at the domain name aol.com, like the accounts listed in Attachment
A-3. Subscribers obtain accounts by registering with Google, Yahoo, and AOL. During the
registration process, Google, Yahoo, and AOL ask subscribers to provide basic personal
information. Therefore, the computers of Google, Yahoo, and AOL are likely to contain
stored electronic communications ( including retrieved and unretrieved e-mail for Google,
Yahoo, and AOL subscribers) and information concerning subscribers and their use of
Google, Yahoo, and AOL services, such as account access information, e-mail transaction
information, and account application information. In my training and experience, such
information may constitute evidence of the crimes under investigation because the
information can be used to identify the account’s user or users.

Google, Yahoo, and AOL subscribers can also store with the provider files in addition to e-
mails, such as address books, contact or buddy lists, calendar data, pictures (other than ones
attached to e-mails), and other files, on servers maintained and/or owned by Google, Yahoo,
and AOL. In my training and experience, evidence of who was using an e-mail account may
be found in address books, contact or buddy lists, e-mail in the account, and attachments to
e-mails, including pictures and files.

E-mail providers generally ask their subscribers to provide certain personal identifying
information when registering for an e-mail account. Such information can include the
subscriber's full name, physical address. telephone numbers and other identifiers, alternative
e-mail addresses, and, for paying subscribers, means and source of payment (including any
credit or bank account number). In my training and experience, such information may
constitute evidence of the crimes under investigation because the information can be used to
identify the account’s user or users.

E-mail providers typically retain certain transactional information about the creation and use
of each account on their systems. This information can include the date on which the
account was created, the length of service, records of log-in (i.e., session) times and
durations, the types of service utilized, the status of the account (including whether the
account is inactive or closed), the methods used to connect to the account (such as logging
into the account via the provider's website), and other log files that reflect usage of the
account. In addition, e-mail providers often have records of the IP address used to register
the account and the IP addresses associated with particular logins to the account. Because
every device that connects to the Internet must use an IP address. IP address information can
help to identify which computers or other devices were used to access the e-mail account.

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a: In some cases, e-mail account users will communicate directly with an e-mail service
provider about issues relating to the account, such as technical problems, billing inquiries, or
complaints from other users. E-mail providers typically retain records about such
communications, including records of contacts between the user and the provider's support
services, as well records of any actions taken by the provider or user as a result of the
communications. In my training and experience, such information may constitute evidence
of the crimes under investigation because the information can be used to identify the
account's user or users.

34. This application seeks a warrant to search all responsive records and information under the
control of Google, Oath Holdings Ine., and Oath Inc.. providers subject to the jurisdiction of
this court, regardless of where Google, Oath Holdings Inc., and Oath Inc. have chosen to
store such information. The government intends to require the disclosure pursuant to the
requested warrant of the contents of wire or electronic communications and any records or
other information pertaining to the customers or subscribers if such communication, record.
or other information is within Google’s, Oath Holdings Inc.’s, and Oath Inc.’s possession,
custody, or control, regardless of whether such communication, record, or other information
is stored, held, or maintained outside the United States. !

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As explained herein, information stored in connection with an email account may provide
crucial evidence of the “who, what. why, when, where, and how” of the criminal conduct
under investigation, thus enabling the United States to establish and prove each element or
alternatively, to exclude the innocent from further suspicion. In my training and experience.
the information stored in connection with an email account can indicate who has used or
controlled the account. This “user attribution” evidence is analogous to the search for
“indicia of occupancy” while executing a search warrant at a residence. For example, email
communications, contacts lists, and images sent (and the data associated with the foregoing.
such as date and time) may indicate who used or controlled the account at a relevant time.
Further, information maintained by the email provider can show how and when the account
was accessed or used. For example, as described below, email providers typically log the
Internet Protocol (IP) addresses from which users access the email account. along with the
time and date of that access. By determining the physical location associated with the
logged IP addresses, investigators can understand the chronological and geographic context
of the email account access and use relating to the crime under investigation. This
geographic and timeline information may tend to either inculpate or exculpate the account
owner. Additionally, information stored at the user’s account may further indicate the

 

I It is possible that Google, Oath Holdings Ine. and Oath Ine. store some portion of the information sought outside of the
United States. In Microsoft Corp. v. United States. 2016 WL 3770056 (2nd Cir, 2016), the Second Circuit held that the government
cannot enforce a warrant under the Stored Communications Act to require a provider to disclose records in its custody and control
that are stored outside the United States. As the Second Circuit decision is not binding on this court, | respectlully request that this
warrant apply (o all responsive information— including data stored outside the United States—-pertaining lo the identified account
that is in the possession. custody. or control of Google, Oath Holdings Ine., and Oath Inc.. The government also seeks the disclosure
of the physical location or locations where the information is stored,

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geographic location of the account user at a particular time (e.g., location in formation
integrated into an image or video sent via email). Last, stored electronic data may provide
relevant insight into the email account owner's state of mind as it relates to the offense
under investigation. For example, information in the email account may indicate the owner's
motive and intent to commit a crime (¢.g., communications relating to the crime), or
consciousness of guilt (e.¢., deleting communications in an effort to conceal them from law
enforcement).

Facebook

Facebook Inc. owns and operates a free-access social networking website of the same name
that can be accessed at http://www.facebook.com. Facebook allows its users to establish
accounts with Facebook, and users can then use their accounts to share written news,
photographs, videos, and other in formation with other Facebook users, and sometimes with
the general public.

Facebook asks users to provide basic contact and personal identifying information to
Facebook, either during the registration process or thereafter. This information may include
the user’s full name, birth date. gender, contact e-mail addresses, Facebook passwords.
Facebook security questions and answers (for password retrieval), physical address
(including city, state, and zip code), telephone numbers, screen names, websites. and other
personal identifiers. Facebook also assigns a user identification number to cach account.

Facebook users may join one or more groups or networks to connect and interact with other
users who are members of the same group or network. Facebook assigns a group
identification number to each group. A Facebook user can also connect directly with
individual Facebook users by sending each user a “Friend Request.” If the recipient of a
“Friend Request” accepts the request. then the two users will become “Friends” for purposes
of Facebook and can exchange communications or view information about each other, Each
Facebook user’s account includes a list of that user’s “Friends” and a “News Feed,” which
highlights information about the user’s “Friends.” such as profile changes, upcoming events,
and birthdays.

Facebook users can select different levels of privacy for the communications and
information associated with their Facebook accounts. By adj usting these privacy settings, a
Facebook user can make information available only to himself or herself. to particular
Facebook users, or to anyone with access to the Internet, including people who are not
Facebook users. A Facebook user can also create “lists” of Facebook friends to facilitate the
application of these privacy settings. Facebook accounts also include other account settings
that users can adjust to control. for example, the types of notifications they receive from
Facebook.

Facebook users can create profiles that include photographs, lists of personal interests, and
other information. Facebook users can also post “status” updates about their whereabouts
and actions, as well as links to videos. photographs, articles, and other items available
elsewhere on the Internet. Facebook users can also post information about upcoming

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“events,” such as social occasions, by listing the event’s time. location, host, and guest list.
In addition, Facebook users can “check in” to particular locations or add their geographic
locations to their Facebook posts, thereby revealing their geographic locations at particular
dates and times. A particular user’s profile page also includes a “Wall,” which is a space
Where the user and his or her “Friends” can post messages, attachments, and links that will]
typically be visible to anyone who can view the user’s profile.

41. Facebook allows users to upload photos and videos, which may include any metadata such
as location that the user transmitted when s/he uploaded the photo or video. It also provides
users the ability to “tag” (e., label) other Facebook users in a photo or video. When a user
is tagged in a photo or video, he or she receives a notification of the tag and a link to see the
photo or video. For Facebook's purposes, the photos and videos associated with a user’s
account will include all photos and videos uploaded by that user that have not been deleted,
as well as all photos and videos uploaded by any user that have that user tagged in them.

42. Facebook users can exchange private messages on Facebook with other users. These
messages, which are similar to e-mail Messages, are sent to the recipient’s “Inbox” on
Facebook, which also stores copies of messages sent by the recipient, as well as other
information. Facebook users can also post comments on the Facebook profiles of other
users or on their own profiles: such comments are typically associated with a specific
posting or item on the profile. In addition, Facebook has a Chat feature that allows users to
send and receive instant messages through Facebook. These chat communications are stored
in the chat history for the account. l'acebook also has a Video Calling feature, and although
Facebook does not record the calls themselves, it does keep records of the date of each call.

43. Ifa Facebook user does not want to interact with another user on Facebook, the first user
can “block” the second user from seeing his or her account.

44, Facebook has a “like” feature that allows users to give positive feedback or connect to
particular pages. Facebook users can “like” Facebook posts or updates, as well as webpages
or content on third-party (7.e., non-Facebook) websites. Facebook users can also become
“fans” of particular Facebook pages.

45. Facebook has a search function that enables its users to search Facebook for keywords,
usernames, or pages, among other things.

406. Each Facebook account has an activity log, which is a list of the user’s posts and other
Facebook activities from the inception of the account to the present. The activity log
includes stories and photos that the user has been tagged in, as well as connections made
through the account, such as “liking” a Facebook page or adding someone as a friend. The
activity log is visible to the user but cannot be viewed by people who visit the user's
Facebook page.

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47. Facebook Notes is a blogging feature available to Facebook users, and it enables users to
write and post notes or personal web logs (“blogs”), or to import their blogs from other
services, such as Xanga, LiveJournal, and Blogger.

48. The Facebook Gifts feature allows users to send virtual “gifts” to their friends that appear as
icons on the recipient’s profile page. Gifts cost money to purchase, and a personalized
message can be attached to each gift. Facebook users can also send each other “pokes,”
which are free and simply result in a notification to the recipient that he or she has been
“poked” by the sender.

49, Facebook also has a Marketplace feature, which allows users to post free classified ads,
Users can post items for sale, housing, jobs, and other items on the Marketplace.

50. In addition to the applications described above. Facebook also provides its users with access
to thousands of other applications (“apps”) on the Facebook platform. When a Facebook
user accesses or uses one of these applications, an update about that the user’s access or use
of that application may appear on the user's profile page.

Sl, Facebook uses the term “Neoprint” to describe an expanded view of a given user profile.
The “Neoprint” for a given user can include the following information from the user’s
profile: profile contact information: News Feed information; status updates: links to videos.
photographs, articles, and other items: Notes: Wall postings: friend lists, including the
friends” Facebook user identification numbers: groups and networks of which the user is a
member, including the groups’ Facebook group identification numbers: future and past
event postings; rejected “Friend” requests: comments: gifts: pokes: tags: and information
about the user's access and use of Facebook applications.

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Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP address. These
logs may contain information about the actions taken by the user ID or IP address on
Facebook, including information about the type of action, the date and time of the action.
and the user ID and IP address associated with the action. For example, if a user views a
Facebook profile, that user’s IP log would reflect the fact that the user viewed the profile.
and would show when and from what IP address the user did so.

53, Social networking providers like Facebook typically retain additional information about
their users’ accounts, such as information about the length of service (including start date),
the types of service utilized, and the means and source of any payments associated with the
service (including any credit card or bank account number). In some cases, Facebook users
may communicate directly with Facebook about issues relating to their accounts, such as
technical problems, billing inquiries, or complaints from other users. Social networking
providers like Facebook typically retain records about such communications, including
records of contacts between the user and the provider's support services, as well as records
of any actions taken by the provider or user as a result of the communications,
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As explained herein, information stored in connection with a Facebook account may provide
crucial evidence of the “who, what. why, when, where, and how” of the criminal conduct
under investigation, thus enabling the United States to establish and prove each element or
alternatively, to exclude the innocent from further suspicion. In my training and experience,
a Facebook user’s “Neoprint,” IP log, stored electronic communications. and other data
retained by Facebook, can indicate who has used or controlled the Facebook account. This
“user attribution” evidence is analogous to the search for “indicia of occupancy” while
executing a search warrant at a residence. For example, profile contact information, private
messaging logs, status updates, and tagged photos (and the data associated with the
foregoing, such as date and lime) may be evidence of who used or controlled the Facebook
account at a relevant time. Further, Facebook account activity can show how and when the
account was accessed or used. For example, as described herein, Facebook logs the Internet
Protocol (IP) addresses from which users access their accounts along with the time and date.
By determining the physical location associated with the logged IP addresses. investigators
can understand the chronological and geographic context of the account access and use
relating to the crime under investigation. Such information allows Investigators to
understand the geographic and chronological context of Facebook access, use, and events
relating to the crime under investigation. Additionally, Facebook builds geo-location into
some of its services. Geo-location allows, for example, users to “tag” their location in posts
and Facebook “friends” to locate each other. This geographic and timeline information may
tend to either inculpate or exculpate the Facebook account owner. Last. Facebook account
activity may provide relevant insight into the Facebook account owner's state of mind as it
relates to the offense under investigation. For example, information on the Facebook
account may indicate the owner’s motive and intent to commit a crime (e.¢., information
indicating a plan to commit a crime), or consciousness of guilt (e.g., deleting account
information in an effort to conceal evidence from law enforcement).

Cloud Storage and Dropbox

Cloud computing has become an increasingly popular way for both individuals and
businesses to store and maintain data. Cloud computing utilizes computer resources
delivered as a service over a network (typically the Internet). Resources are distributed
across a variety of remote data centers in different locations. The following terms relate to
the use of cloud computing:

a, “Cloud” is a generic term that refers to a network where the physical location and
inner workings are abstracted away and unimportant to the usage. “The cloud” was
first used to describe telecommunication networks, where the consumer was
blissfully unaware of the inner workings of how their telephone conversation was
transmitted to the remote end. The term was later used to describe computer
networks, and ultimately to describe the Internet specifically. Knowing the physical
location of a website is unimportant to using that service. Cloud computing also
takes advantage of this definition of cloud. as it is also a service connected to a
network, often the Internet. However, cloud computing offers specific services

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whereby customers rent remote computing resources such as processing power or
data storage, and provision those resources themselves.

“Cloud computing” is a model for enabling ubiquitous, convenient. on-demand
network access to a shared pool of configurable computing resources (e.g., networks,
servers, storage, applications, and services) that can be rapidly provisioned and
released with minimal management effort or service provider interaction,

“Cloud Service Provider” (CSP) is the entity that offers cloud computing services.
CSP’s offer their customers the ability to use infrastructure, platform, or software as
a service. These services may include offerings such as remote storage, Virtual
machines, or Web hosting. Service is billed as a utility based on usage. CSP*s
maintain records pertaining to the individuals or companies that have subscriber
accounts with it. Those records could include identifying and billing information,
account access information in the form of log files, account application information,
and other information both in computer data format and in written record format.
CSP’s reserve and/or maintain computer disk storage space on their computer system
for the use of the cloud service subscriber for both temporary and long- term storage
of electronic data with other parties and other types of electronic data and files. Such
temporary, incidental storage is defined by statute as “electronic storage,” and the
provider of such a service is an “electronic communications service” provider. A
cloud service provider that is available to the public and provides long-term storage
services to the public for electronic data and files, is providing a “remote computing
service.” CSP’s may be able to provide some of the following, depending on the
type of services they provide: NetFlow, Full Packet Captures, Firewall and Router
Logs, Intrusion Detection Logs, Virtual Machines, Customer Account Registration,
Customer Billing Information,

“Virtual Machine” (VM) is a system where the hardware is Virtual rather than
physical. Virtualization is a technique whereby special sottware, called the
hypervisor, can run many virtual (rather than physical) machines. The hardware on
the single machine is emulated so that each virtual instance of a computer, called a
VM. does not require dedicated physical hardware, but each VM believes it has its
own hardware. The hypervisor has special access to control all of the virtual guests,
but it should also be able to isolate the guests from each other.

“NetFlow Records” are collections of network statistics collected by a service
provider about traffic flows. A traffic flow is a sequence of data packets from a
source to a destination. NetFlow is collected when it is impractical to collect all of
the data packets for a flow. Providers may use these logs for quality control.
security, or billing. For any particular network flow, NetFlow can include the source
and destination IP addresses, network ports, timestamps, and amount of traffic
transferred. A provider may only collect a sample of all possible sessions, and may
only store the NetFlow for a short time.

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96. Dropbox is an on-line service that allows its users to store files on Dropbox Inc.’s servers,
According to Dropbox Inc.’s privacy policy, at htt os://www.dropbox.com/pri\ acy, Dropbox
Inc. collects and stores “the files you upload, download, or access with the Dropbox
Service,” and also collects logs: “When you use the Service, we automatically record
information from your Device, its software, and your activity using the Services. This may
include the Device’s IP address. browser type, the web page visited before you came to our
website, information you search for on our website, locale preferences, identification
numbers associated with your Devices. your mobile carrier, date and time stamps associated
with transactions, system conti guration information, metadata concerning your Files, and
other interactions with the Service.

57. In general, providers like Dropbox Ine. ask each of their subscribers to provide certain
personal identifying information when registering for an account. This information can
include the subscriber's full name, physical address, telephone numbers and other
identifiers, e-mail addresses, and. for paying subscribers, a means and source of payment
(including any credit or bank account number). Providers typically retain certain
transactional information about the creation and use of each account on their systems. This
information can include the date on which the account was created, the length of service,
records of log-in (i.c., session) times and durations, the types of service utilized, the status of
the account (including whether the account is inactive or closed), the methods used to
connect to the account, and other log files that reflect usage of the account. In addition,
providers often have records of the IP addresses used to register the account and the IP
addresses associated with particular logins to the account. Because every device that
connects to the Internet must use an IP address, IP address information can help to identify
which computers or other devices were used to access the account.

58. In some cases, account users will communicate directly with a provider about issues relating
to their account, such as technical problems, billing inquiries, or complaints from other
users. Providers typically retain records about such communications, including records of
contacts between the user and the provider's support services, as well records of any actions
taken by the provider or user as a result of the communications.

Kik Messenger Application

59, Kik is a cross-platform instant messenger application available on smartphones. The
application allows users to exchange text-based conversations with one another and to share
media such as photos, YouTube videos, and other content.

60, The Kik messenger application is administered by Kik Interactive Inc.. a company based in

Ontario, Canada. The application can be downloaded free of charge from the Internet. It
requires a smartphone with either a data plan or access to a Wi-Fi network to use.
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Unlike many other smartphone instant messenger applications that are based on a user's
telephone number, Kik uses usernames to identify its users. Each user selects and is
assigned a unique user name for use on Kik’s platform. Each user also creates a user profile.
which includes a first and last name and an email address. Kik Interactive Inc. does not
verify this information, and as such, users can provide inaccurate information.

Kik Interactive Inc. maintains users’ profile information and collects IP addresses utilized by
users to access the account and transmit messages. In some circumstances, Kik Interactive
Inc. also collects users’ dates of birth as well as other information about how users have

used the messenger application. Kik Interactive Inc. will only release current information to
law enforcement pursuant to service of proper legal service (typically profile information
and IP addresses for the past thirty days, or the most recent thirty days if the account has not
been recently used). Kik Interactive Inc. does not store or maintain chat message content.

Based on my training and experience, I know that individuals involved in child pornography
offenses ofien utilize the Kik messenger application to trade child pornography files and to
communicate with other offenders and victims. In my experience, a number of child
pornography offenders believe that the Kik messenger application is a secure means of
trading child pornography.

Based on my training and experience, | know that individuals frequently use abbreviations
or acronyms when communicating with each other on messenger applications such as Kik.
Some of these abbreviations or acronyms include the following (as seen later in the
Affidavit):

a. ASAP — As soon as possible
b. HMU — Hit me up
c. IDK — I don’t know

d. NVM ~ Never mind

e. YO -— Years old
f. Pics — Pictures

g. Vids - Videos

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SextingForum.net Website

Based on review of publicly available information, I have learned that an online bulletin
board known as SextingForum.Net is located at the website www -Sextingforum.net. The
bulletin board contains a variety of categories and forums, and it allows users to post
messages within these categories and forums. Based on review of the website, much of its
content appears to be dedicated to sexually oriented material and the discussion of sexually
explicit topics.

Review of the SextingForum.net website provided the following information:

a. In order to utilize all of the features available on the website, users need to sign up
for a member account. The registration process involves providing an email address
and password and establishing an account profile, which includes a user name and
gender,

b, The home page for the website is referred to as the “Board Index”. and it lists the
categories and forums available on the website. The Board Index appears to
categorize the forums by the types of social media accounts the users intend to utilize
~ to include Snapchat, Kik Messenger, WhatsApp, Wicker Messenger, Twitter, and
Instagram.

Forums are split into various categories. Within each forum, there is a list of topics.
Users are able to start new topics within an applicable forum as well as post
comments within topics started by others.

oO

d. Next to each post contains information about the user who made the posting.
Another user’s profile can be viewed by hovering the mouse over the user name.

The bulletin board contains a personal messenger application that can be used to
exchange private messages with other users.

OQ

In reviewing reports from other agents and consulting with other investigators from the FBI.
I have learned that the SextingForum.net website has been utilized by a number of
individuals throughout the United States to obtain, trade, and/or sell child pornography files
and to discuss matters related to the sexual abuse of children.

NCMEC and CyberTipline Reports
The National Center for Missing and Exploited Children (commonly known as “NCMEC”)

was founded in 1984 to serve as a clearinghouse on issues related to missing and sexually
exploited children. It is currently authorized by Congress to perform 19 programs and

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services to assist law enforcement, families, and professions find missing children, reduce
child sexual exploitation, and prevent child victimization.

69, As part of its functions, NCMEC administers the CyberTipline. The CyberTipline receives
leads and tips from the public and Electronic Service Providers regarding suspected crimes
of sexual exploitation committed against children. Electronic Service Providers are required
by law to report apparent child pornography to law enforcement via the CyberTipline.
Analysts review these tips and refer them to the appropriate federal, state, and local law
enforcement authorities,

FACTS SUPPORTING PROBABLE CAUSE
North Carolina Investigation

70. Beginning in 2017, agents and task force officers of the Charlotte (North Carolina) division
of the FBI have investigated Andrew Bowles (hereinafter referred to as “Bowles”) for child
pornography offenses. On or around November 30, 2017, federal search warrants were
authorized for Bowles* residence in Benson, North Carolina and for his cellular telephone.
The warrants were executed on or around December 6, 2017. Bowles’ cellular telephone
and various other electronic media were seized pursuant to the warrants. Bowles was
interviewed during the execution of the warrants, and he admitted that he viewed and
obtained child pornography via a variety of means, including the Kik messenger application.
Bowles admitted that his account name on the Kik messenger application was demonelf91.
Bowles also admitted that he posted advertisements on the SextingForum.net website,
including advertisements related to the sexual exploitation of children.

71. During the subsequent examination of Bowles’ cellular telephone. law enforcement officers
located messages that Bowles exchanged on the Kik messenger application (using the
account name demonelf91) with another individual using the Kik account name of
boysunder9, The Messages were exchanged on or around August 6, 2017. During the
exchange of messages, the boysunder9 account user indicated that he found Bowles’ account
on the SextingForum.net website. The boysunder9 account user identified that he was 23
years old, lived in Ohio, and had a three-year old nephew. The boysunder9 account user
offered to help Bowles have sex with a child. The boysunder9 account user agreed to allow
Bowles to have sex with the three-year old nephew, but stated that he wanted something in
return. The boysunder9 account user suggested that if Bowles was able to find another child
under the age of seven years old, the boysunder9 account user would travel to North
Carolina so that he and Bowles could have sex with the three-year old nephew. Specifically,
when Bowles offered to allow someone to have sex with him or record his sexual activities.
the boysunder9 account user specifically told Bowles that he wanted kids. Below isa
transcript of this conversation from the SextingForum.net website:

Boysunder9: Hey
Demonell91: Hello
Boysunder9:
Demonelf91:
Boysunder9:
Demonelf9 1:
Boysunder9:
Demonelf91:
Demonelf9 1]:
Boysunder9:
Boysunder9:
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Found you on sexforum

Ah. You fit my post or have a lil one?

3 nephew

3yo?

Yes

He with you now? Your age?

Im a 26yo guy

No but | can get him when I want

You have any kids

No thats why im looking lol.

You take any pics of him that I can see? All pics are kept
secret between us and never shared

Do you know we're any kids live

No

Ill help you have sex with one and they will stay quiet and not
tell

With your nephew?

What

Sex with him

No If you get one alone I know what to tell them

Im looking for someone that plays with their lil one idk how to
get one myself. So can we do it with your nephew or no?
Yes

I'm wanting something in return

| allow someone to have sex with me also or record me no
face with him

No | want kids

Then guess ill keep searching:/

Pll help you

Okay so youd let me with your nephew?

We're you live

I'm near Raleigh. You? Your age?

We're that

23

North Carolina.

You?

Ohio

Nvm too far

Ill make you a deal

?

If you get a boy or girl under 7 and Fuck them Ell drive my
nephew to you and we will both Fuck him

Well no chance on that for me :/

Not having luck
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Boysunder9: Do you know any single parents
Demonelf91: Nope
Boysunder9: Ok do you know anyone with kids
te Based on the above noted conversation, I believe that the user of the boysunder9 Kik

account had offered to and was attempting to travel in interstate commerce (that being from
Ohio to North Carolina) to engage in illicit sexual activity with his three-year old nephew
and Bowles.

73. As detailed in the above transcript, the boysunder9 account user indicated that he found
Bowles’ Kik account on the SextingForum.net website. A law en forcement officer in North
Carolina conducted a search of the publicly available information on the SextingForum.net
website for the boysunder9 account name. The results of the search indicated that an
individual using the Kik account name boysunder9 had posted messages in approximately
eight topics. The messages were posted during the approximate time period of May 2017 to
October 2017. The individual utilized a user name on the SextingForum.net website of
“Bigman23” in the first six postings, “Littledicklover” in the seventh posting, and
“Babyboys” in the eighth posting. Below is a summary of these messages from the
SextingForum.net website:

a. On or around May 27, 2017, an individual using the account name “Bigman23”
started a topic entitled “Trades” in the “Dirty Kik” forum. The “Bigman23” user
posted the following:

“Looking for pics and Vids want to trade boys!-7 and girls 1-4 let me know
what you got
Kik boysunder9”

No one publicly responded to this posting.

b. On or around June 2, 2017, an individual using the account name ~Bigman23”
started a topic entitled “Parents” in the “Kik Nudes” forum. The “Bigman23” user
posted the following:

“Im looking for anyone who likes to get kids alone and get pics Vids and
have fun with them I want to trade mine
Kik boysunder9”

No one publicly responded to this posting.
Rs On or around June 5, 2017, an individual using the account name “Bigman23”
responded to a posting made by another individual in a topic entitled “Read” in the

“Males Seeking Males” forum. The other individual began the topic by posting the
following on or around June 2, 2017:

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“Hi. I'm looking for people to trade vids of them fucking their child or wife.
I will do the same. But only to the first 5. So hmu asap
(@paul_ tanner”

The Bigman23 user responded on or around June 5, 2017 by stating: “Hey message
me on Kik boysunder9”,

d. On or around June 10, 2017. an individual using the account name “Bigman23”
responded to a posting made by another individual in a topic entitled “Child Porn™ in
the “Males Seeking Males” forum. The other individual began the topic by posting
the following on or around June SB, 2017:

“Send me a full nude pic in the mirror and I will send you child porn
HeykyleS”

The Bigman23 user responded on or around June 10, 2017 by stating: “Hey my Kik
is boysunder9”,

cs On or around June 13, 2017, an individual using the account name “Bigman23”
responded to a posting made by another individual in a topic entitled “Got Any Child
Porn?” in the “Males Seeking Males” forum. The other individual began the forum
by posting the following on or around June 13,2007:

“Wanna trade child porn? Send porn first for trade back
Add me: akeymon8”

The Bigman23 user responded on or around June 13, 2017 by stating: “Hey message
me on Kik. Boysunder9”,

f. On or around June 15, 2017. an individual using the account name “Bigman23”
Started a topic entitled “Parents Or Friends Of Parents For Younger Kids” in the
“Dirty Kik” forum. The “Bigman23” user began the topic by posting the following:

“I love to see the little ones played with and made cry I'd love to trade pics
and Vids I have my own Ill trade

Kik

Boysunder9”

No one publicly responded to this posting.
g. On or around July 15, 2017. an individual using the account name “Littledicklover™

started a topic entitled “Daddy Brother Or Babysitter” in the “Kik Sexting” forum.
The “Littledicklover™ user began the topic by posting the following:

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“Im looking to talk and trade with any one who loves kids
Kik boysunder9”

No one publicly responded to this posting.

h. On or around October 19, 2017. an individual using the account name “Babyboys”
started a topic entitled “Child Toddler Baby” in the “Kik Sexting” forum. The
“Babyboys”™ user began the topic by posting the following:

“Wanting to trade I have kids I want to trade pics and videos of to some one
who has or can get kids alone

Kik boysunder9

Message me with what you f

Got”

No one publicly responded to this posting.

74, The publicly available information on the SextingForum.net website was reviewed for the
“Bigman23”, “Littledicklover”, and “Babyboys” account profiles, The profile for the
“Bigman23” account identified that the user had been a member since on or around May 27,
2017, and was last active on or around June 17, 2017. The gender listed for the user was
male. The profile for the “Littledicklover” account identified that the user had been a
member since on or around July 15, 2017, and was last active on or around July 19, 2017,
The gender listed for the user was female. The profile for the “Babyboys” account
identified that the user had been a member since on or around October 18. 20] 7, and was

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last active on or around January 3, 2018. The gender listed for the user was female.

ie Based on my training and experience, | know that Kik account names are unique in that only
one person can utilize an account name at a time. Given that postings from the “Bigman23”,
“Littledicklover”, and “Babyboys” accounts all identified that the user utilized the Kik
account boysunder9, it is reasonable to believe that the three accounts were utilized by the
same person,

76, Based on my training and experience, I believe that the postings made by the “Bigman23”,
“Littledicklover”, and “Babyboys” accounts (as detailed above) are consistent with
individuals who are attempting to obtain and trade child pornography files with others. For
example, two of the topics that the “Bigman23” account user responded to were explicitly
entitled “Child Porn” and “Got Any Child Porn”. Also for example, the title of one of the
topics posted by the “Babyboys” account user reflected the apparent desired ages of children
~ “Child Toddler Baby”. Based on all of the information noted in the Affidavit. | submit
that it is reasonable to believe that by posting the information noted above on the
SextingForum.net website, the boysunder9 account user was: (1) attempting to receive and
possess child pornography, and (2) making. printing, or publishing advertisements to receive
and/or exchange child pornography files with others.
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Vt, Also based on my training and experience, | believe that the postings made by the
“Bigman23”, “Littledicklover”, and “Babyboys” accounts are indicative of someone who
possesses a collection of child pornography. For example, on June 2. 2017, the “Bigman23”
account user stated “I’d love to trade pics and vids I have my own I'll trade”. Also for
example, on June 15, 2017, the “Bigman23” account user stated “T want to trade mine”,

Service of Subpoenas and Review of Other Records

     

78. During the course of the investigation, two administrative subpoenas were served to Kik
Interactive Inc. requesting subscriber information for the boysunder9 account, as well as
logs of IP addresses utilized to access the account and transmit messages. The subpoenas
Were served to Kik Interactive Inc. on or around January 22, 2018 and February 5, 2018.
The records from Kik Interactive Inc. provided the following information:

a. The boysunder9 account was created on or around January 22,2017. The profile
name for the account was “John Adams”, and the email address

lovepics9@yahoo.com was associated with the account profile,

b. The account was last accessed on or around December 5, 2017. The [P address of
107.198.170.99 was used to access the account on this date. No other IP addresses
were provided by Kik Interactive Inc., as prior activity was beyond the standard 30-
day period of which Kik Interactive Inc. will release records pursuant to a subpoena
(as detailed above).

ce A ZTE Model N9519 android device was used to access the account on or around
December 4, 2017.

9, AT&T was identified as the service provider for the IP address: 107.198] 70.99. On or
around January 29, 2018. an administrative subpoena was served to AT&T requesting
subscriber information for this [P address on December 5. 2017 at the approximate time it
was used to access the boysunder9 Kik account. Records received in response to the
subpoena identified that the IP address was subscribed to TYLER ULM at 305 East
Maplewood Avenue, Dayton, Ohio. AT&T's records identified that TYLER ULM’s
telephone number was 937-93 |-| 151. Records identified that the Internet account was
activated on or around November 25, 2017, and that it was active as of the date of the
subpoena.

80. Sprint was identified as the service provider for telephone number 937-931-1151. On or
around February 6 and 7, 2018. administrative subpoenas were served to Sprint req uesting
subscriber information and device information for this telephone number. Records received
in response to the subpoenas identified that the telephone number was subscribed to TYLER
ULM at 305 East Maplewood Avenue, Dayton, Ohio. According to Sprint's records. the
device that utilized this telephone number was a Boost ZTE Model N9519 cellular
telephone. As detailed above. this same make and model of cellular telephone was utilized

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to access the boysunder9 Kik account on or around December 4, 2017.

On or around February 5, 2018, an administrative subpoena was served to Yahoo Holdj ngs
Inc. requesting subscriber information for the email address lovepics9@vyahoo.com (the
email address associated with the boysunder9 Kik account) and logs of IP addresses utilized
to access the account. Records received from Yahoo Holdings Ine. in response to the
subpoena identified that the account was created on or around January 12. 2017 in the name
of “John Adams”. Telephone number 937-931-115] (the telephone number subscribed to
TYLER ULM, as detailed above) was listed as an alternate communication channel for the
account. The records indicated that this telephone number had been verified by Yahoo
Holdings Inc. The email account was deactivated on or around May 5, 2017.

On or around February 8, 2017, an administrative subpoena was served to Charter
Communications requesting subscriber information for a sample of four of the IP addresses
utilized to log into the lovepics9@yahoo.com account (as identified in the logs of IP
addresses provided by Yahoo Holdings Inc.). Records received in response to the subpoena
identified that each of these IP addresses were subscribed to Jacqueline Ulm at 305 East
Maplewood Avenue. Dayton, Ohio. Based on information from a prior report of the Dayton
Police Department. it appears that Jacqueline Ulm is TYLER ULM’s mother.

Review of records from the Ohio Bureau of Motor Vehicles identified that TYLER ULM
utilized the address of 305 East Maplewood Avenue. Dayton, Ohio, on his current Ohio
driver’s license. The driver's license identified that TYLER ULM is presently 23 years old
(consistent with the age provided by the boysunder9 account user in his communications
with Bowles).

In reviewing publicly accessible data on the Facebook website, I located an account in the
name of TYLER ULM and a Facebook user ID of Tyler.UIm.7 (located at
https://wwww.facebook.com/tyler.ulm.7). Based on review of photographs and other data
for the account, this individual appears to be the same TYLER ULM who utilized the
address of 305 East Maplewood Avenue, Dayton, Ohio on his current Ohio driver's license.
The publicly available data contained on the account included approximately nine
photographs that depicted a juvenile boy sitting on the lap of TYLER ULM. The juvenile
boy appears to be approximately two to four years old (consistent with the age of the
nephew that the boysunder9 account user identified as having in his communications with
Bowles).

Cyber Tipline Reports

As part of the investigation. I learned that Yahoo has made four reports to NCMEC’s
CyberTipline regarding suspected child pornography files located in Flickr accounts
associated telephone number 937-931-115] (the telephone number subscribed to TYLER
ULM and listed as an alternate communication channel for the lovepics9@yahoo.com email
address, as detailed above) and/or the name of “John Adams”. These four reports were
made during the time period of December 2016 to December 2017. NCMEC forwarded the

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four reports, along with the suspected child pornography files that were provided by Yahoo,
to the Ohio Internet Crimes Against Children Task Force (ICAC) for further investigation. |
have obtained and reviewed these reports and suspected child pornography files from the
Cuyahoga County ICAC as part of the current investigation.

On or around December 15, 2016, Yahoo reported to NCMEC’s CyberTipline that a
suspected child pornography file was located ina Flickr account bearing NSID?
146969803@N06. which was associated with the email address d9underbovia yahoo.com,
Yahoo provided the following information to NCMEC regarding these accounts:

a. The email account d9underboy@yahoo.com was created on or around December 7.
2016. When opening the account. the account user provided a name of “John
Adams”, a gender of female, and a date of birth of January 1, 1990.

b. An associated Flickr account in the name “John Adams2016” was created on or
around December 6, 2016. The Flickr account had a display name of “John Adams”
and a Flickr NSID of 146969803@N06. The URL for the account was
https://www. flickr.com/photos/1 46969803(@N036.

cc; Telephone number 937-931-1151 was associated with the account. Yahoo's records
indicated that a representative verified that this telephone number was accurate on or
around December 7, 2016.

d. Yahoo deactivated the account on or around December 15, 2016, after finding one
suspected child pornography file in the Flickr account. I have reviewed the file. and
based on my training and experience, | believe that it depicts child pornography (as
defined in 18 U.S.C. § 2256). The file is described as follows:

I. img.3-L.jpg: The file is a close-up image of the nude penis of what appears
to be a toddler-aged male child. The hand of another individual is touching
the child’s penis.

On or around December 30, 2017, Yahoo reported to NCMEC’s CyberTipline that
suspected child pornography files were located in a Flickr account bearing NSID
150137400@N03. which was associated with the email address kids9nunder/@yahoo.com.
Yahoo provided the following information to NCMEC regarding these accounts:

a. The email account kids9nunder@yahoo.com was created on or around December
17, 2016. When opening the account, the account user provided a name of “Tom

Adams”. a gender of female, and a date of birth of June 1, 1969.

b. An associated Flickr account in the name “Tom Adams2016” was created on or

 

2 NSID’s are user identification numbers for Flickr accounts,

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around December 17, 2016. The Flickr account had a display name of “Tom
Adams” and a Flickr NSID of 150137400@N03. The URL for the account was
https://www.flickr.com/photos/1 50137400(@N03.

 

C: Telephone number 937-931-1151 was associated with the account. Yahoo’s records
indicated that a representative verified that this telephone number was accurate on or
around December 29, 2016,

d. Yahoo deactivated the account on or around December 29, 2016. after finding
approximately five suspected child pornography files in the account. I have
reviewed the five files, and based on my training and experience, | believe that they
depict child pornography (as defined in 18 U.S.C. § 2256). By way of example, one
of the files is described as follows:

le img.5-1: The file is an image that depicts a nude infant or toddler-aged male
child lying on his back with his legs spread apart, exposing his nude penis to
the camera.

88, As part of reporting the Flicker NSID’s 146969803@N06 and 150137400@N03 to
NCMEC’s CyberTipline in December 2016, Yahoo also provided information regarding two
other accounts that appeared to be used by the same person: littleboysunder@yahoo.com
and tylerjulm@yahoo.com. Yahoo provided the following information to NCMEC
regarding the littleboysunder@yahoo.com account as part of their CyberTipline reports in
December 2016:

a. The email account littleboysunder@yahoo.com was created on or around
November 28, 2016. When opening the account, the account user provided a name
of “John Adams”, a gender of female, and a date of birth of January 1, 1998.

b. An associated Flickr account in the name “johnadams 19” was created on or around
November 28, 2016. The Flickr account had a display name of “John Adams” and a
Flickr NSID of 146772605@N03. The URL for the account was
https://www.flickr.com/photos/ I 46772605(@N03.

é Telephone number 937-931-1151 was associated with the account. Yahoo's records
indicated that a representative verified that this telephone number was accurate on or
around December 29, 2016,

89. Yahoo provided the following information to NCMEC regarding the
tylerjulm@yahoo.com account as part of their CyberTipline reports in December 2016:
a. The email account tylerjulm@yahoo.com was created on or around J uly 22, 2016.

When opening the account, the account user provided a name of “Tayler Hom”, a
gender of female, and a date of December 1. 1990.

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b. An associated Flickr account in the name “Tayler Hom” was created on or around
July 22, 2016. The Flickr account had a display name of “Tayler Hom” and a Flickr
NSID of 145287374@N02. The URL, for the account was
https://www.flickr.com/photos/1452873 74@N02.

gi Telephone number 937-931-1151 was associated with the account. Yahoo's records
indicated that a representative verified that this telephone number was accurate on or
around November 28, 2016,

90. On or around January 17, 2017. Yahoo reported to NCMEC’s CyberTipline that suspected
child pornography files were located in a Flickr account bearing NSID 147418551@N04.
Yahoo provided the following information to NCMEC regarding this account:

a. The Flickr account was in the name of “Love Pics”.

b. The Flickr account was associated with the email address
omkexddwbkit3s2eatevv5zx3bne75kjo4kfarxo@yahoo.com.

e. Telephone number 937-931-1151 was associated with the account.

d. Yahoo found approximately three suspected child pornography files in the Flickr
account. I have reviewed the three files, and based on my training and experience, |
believe that they depict child pornography (as defined in 18 U.S.C, § 2256), By way
of example, one of the files is described as follows:

i. img.4-1: The file is an image that depicts a nude infant or toddler-aged male
child lying on his back with his legs spread apart, exposing his nude penis to
the camera.

9], On or around December 19, 2017, Yahoo reported to NCMEC’s CyberTipline that a
suspected child pornography file was located ina Flickr account bearing NSID
161195535(@N07. Yahoo provided the following information to NCMEC regarding this

account:

a. The Flickr account was in the name of “John Adams”.

b. The Flickr account was associated with the email address legal-cpr/@ yahoo-ine.com,

c. No telephone number was provided for the account. The email address
lovepics9@aol.com was listed as an alternate communication channel for the
account.

d. Yahoo found approximately one suspected child pornography file in the Flickr

account. I have reviewed the file, and based on my training and experience. I believe

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that it depicts child pornography (as defined in 18 U.S.C. § 2256). The file is
described as follows:

i. Img.1-I.jpg: The file is an image that depicts two nude pre-pubescent male
children and one nude pre-pubescent female child in a bathroom. The penis
and vagina of two of the children are exposed to the camera.

Given that the six accounts reported by Yahoo to NCMEC’s CyberTipline were all
associated with telephone number 937-931-1151 and/or contained a user name of “John

Adams”, it is reasonable to believe that they were utilized by the same person.

Execution of Search Warrants

 

On February 14, 2018, search warrants were authorized by the United States District Court
for the Southern District of Ohio for (1) the residential property located at 305 East
Maplewood Avenue, Dayton, Ohio, and (2) the person of TYLER ULM. Agents and
officers of the FBI and Dayton Police Department executed the warrants on February 15,
2018. An adult female who will be referred to for purposes of this Affidavit as “Female A”
was present when agents and officers arrived. Various electronic media were located in the
residence and seized pursuant to the search warrant.

During the execution of the search warrant for the residence, Female A agreed to be
interviewed. In summary, Female A provided the following information during the
interview:

a. TYLER ULM was Female A’s boyfriend. They lived together at 305 East
Maplewood Avenue, Dayton, Ohio.

b. Female A stated that she had never used the Kik Messenger application or the
SextingForum.net website. TYLER ULM had utilized a Kik account in the past, but
Female A did not know his account name or if he still utilized the account.

im Female A stated that she did not use the email account lovepics9/@vahoo.com and
did not know anyone who used this account. Female A also stated that she did use
the account names “boysunder9”, “Bigman23”, “Littledicklover”, or “Babyboys”,
and she did not know anyone who used these account names.

 

d. Female A had a nephew who was two years old.

Also during the execution of the search warrant for the residence. a 1997 Dodge Grand
Caravan vehicle that was registered to Female A arrived and parked a short distance away
from the residence. TYLER ULM was in the passenger seat of the vehicle, and a man who
identified himself as TYLER ULM’s father was in the driver’s seat. TYLER ULM got out
of the vehicle as agents and officers approached him. His person was searched pursuant to
the search warrant, and no items of evidence were seized.

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96. Officers observed a cellular telephone between the front seats of the 1997 Dodge Grand
Caravan vehicle (within arm’s reach of where TYLER ULM was sitting when he arrived),
Female A provided her written consent for agents and officers to search the vehicle. An
officer thereafter searched the vehicle and seized a ZTE cellular telephone bearing Model
N9519 and serial number 3203758] 7555. It was noted that this telephone is the same make
and model of cellular telephone that was utilized to access the boysunder9 Kik account on or
around December 4, 2017 (as detailed above).

97. TYLER ULM agreed to be interviewed after being advised of his Miranda rights. In
summary, TYLER ULM provided the following information during the interview:

a. TYLER ULM resided at 305 East Maplewood Avenue, Dayton, Ohio. with Female
A. His mother previously resided at the residence as well, but she died a few days
prior.

b. The ZTE cellular telephone seized from the Dodge Grand Caravan is TYLER

ULM?’s cellular telephone, and his cellular telephone number is 937-93 1-115] (the
number listed as an alternate communication channel for the lovepics9/a yahoo.com
email account and three of the accounts reported by Yahoo to NCMEC’s
CyberTipline, as detailed above).

   

c TYLER ULM stated that he utilized the email accounts tylerjulm22(@ gmail.com

and tylerjulm@gmail.com. He denied utilizing any other email accounts within the

past approximately six years,
d. TYLER ULM denied ever using the Kik Messenger application.

Si TYLER ULM denied using any Dropbox accounts.

t. TYLER ULM stated that he did not use the email account lovepics9@yahoo.com

and did not know anyone who used this account. TYLER ULM also stated that he
did use the account names “boysunder9”, “Bigman23”, “Littledicklover’, or
“Babyboys”, and he did not know anyone who used these account names.

g. TYLER ULM did not have any biological nephews. However, TYLER ULM had
been around the children of some of his friends. These children included three boys
who were approximately two to four years old.

h. TYLER ULM stated that there had been times when he fantasized about children and
talked about these fantasies with others, but that he never engaged in sexual activities

with children. TYLER ULM then terminated the interview,

98. On February 16, 2018, a search warrant was authorized by the United States District Court
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for the Southern District of Ohio for TYLER ULM’s ZTE Model N9519 cellular telephone.
A preliminary review of the telephone has been conducted at this time. ‘The following
information was obtained during the preliminary review:

a. To date, at least approximately twenty image files depicting child pornography (as
defined in 18 U.S.C. § 2256) have been recovered from the telephone. Based on file
property information, it appears that these images were created on the telephone on
approximately four dates during the approximate time period of October 19, 2017 to
November 22, 2017. By way of example, two of the files are described as follows:

1. 1508800134390.jpg: The file is a close-up image of a pre-pubescent male
child with his legs spread apart. The penis of what appears to be an adult
male is partially inserted into the child’s anus.

i. 151130744029 1.jpg: The file is an image that depicts two nude pre-
pubescent male children lying on a bed together. The penis of one of the
children is in the mouth of the other child.

b. Contrary to TYLER ULM’s statements, a user account* was established on the
telephone for an account on the Kik website on or around May 4, 2017. The
information available on the telephone did not include the account name but
identified that the password for the account was boysunder9. The Kik application
was not currently installed on the telephone. As such. communications on the Kik
messenger application utilizing the user account have not been recovered from the
telephone as of this time.

c. Also contrary to TYLER ULM’s statements, the email address
lovepics9@yahoo.com was saved as a user account on the telephone. On or around
May 4, 2017, another user account was established on the telephone for an account
on the SexForums.com website (a website for chatting about sexually explicit topics
and exchanging nude or sexually-explicit photographs). The user name for the
account was lovepics9@yahoo.com, and the password was boysunder9.

 

d. Four user accounts were established on the telephone for accounts on the
SextingForum.net website: (1) an account with a user name of
johnadams1.9@yahoo.com and password of boysunder8, established on or around
May 18, 2017; (2) an account with a user name of boysunder9@yahoo.com and
password of boysunder4, established on or around July 15, 2017 (the same date that
the “Littledicklover” account was created. as detailed above): (3) an account with a
user name of tylerulm@vyahoo.com and password of boysunder9, established on or
around August 30, 2017; and (4) an account with a user name of

 

3 On many Android cellular telephones such as the ZTE telephone seized pursuant to the seareh warrant. users can set up
various user accounts on the phone for email and social media accounts they commonly utilize. ‘These user accounts are stored in the

phone's settings.

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D9boylover@yahoo.com and password of boysunder9, established on or around
October 18, 2017 (the same date that the “Babyboys” account was created. as
detailed above).

   

i. Based on information provided by Yahoo, the email addresses
boysunder9@yahoo.com, ty lerulm(@yahoo.com, and
D9Boylover@yahoo.com are not currently open email addresses. Based on
my review of the SextingForum.net website, | know that accounts can be
created on this website using fictitious email addresses.

ei On or around January 3, 2017, a user account was established on the telephone for an
account on the Yandex website. The user name for this account was
Littleboysunder. and the password was boysunder9,

i. Based on my training and experience, I know that Yandex is a multinational
technology company specializing in Internet-related products and services.
Although most of its assets are in Russia. its headquarters is in the
Netherlands. Among other products and services. Yandex provides users
with email service, a web browser, a search engine, and cloud storage. Based
on my training and experience, I know that Yandex’s products (to include
email and cloud storage) have been utilized by child pornography offenders
to store and trade child pornography files.

f. The email addresses tylerjulm22@gmail.com and tylerjulm@gmail.com were
established as user accounts on the telephone. As noted above, TYLER ULM
identified during the interview that he used these two email accounts. The
telephone’s data identified that Google+ and Google Drive accounts existed for the
two email addresses. The telephone’s data also indicated that more than 600 image
files had been saved to a Google Drive account associated with the email address
tylerjulm22@gmail.com.

g. On or around November 11, 2016, a user account was established on the telephone
for an account on the Live.com website (a website associated with Microsoft
accounts). The user name for this account was damonvaughn0@gmail.com.

h. On or around October 15, 2016, a user account was established on the telephone for
an account on the Netflix website (a website that allows users to watch television
shows and movies online). The user name for this account was
ahopping0406@aol.com.

i. On or around July 15, 2017, a user account was established on the telephone for an
account on the Dropbox website. The user name and password for the account were
not saved in the telephone’s data.
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J. On or around January 27, 2017, a user account was established on the telephone for
an account on the Facebook website. The account had a user name of 937931115].

i I conducted a search of the publicly available content on the Facebook
website for accounts associated with telephone number 937-931-1151. |
found that the Tyler.UIm.7 account (the account identified above in
paragraph 84) is associated with this telephone number.

Identification of Dropbox Accounts

99. On or around February 22, 2018, Dropbox Inc. was served with an administrative subpoena
requesting subscriber information for any accounts associated with email addresses
Suspected to be utilized by TYLER ULM (as detailed above) as well as the logs of IP
addresses utilized to access these accounts during the time period of January 1, 2017 to
February 22, 2018. In response to the subpoena, Dropbox Inc. provided records for four
accounts associated with the following email addresses: littleboysunder@yahoo.com,
lovepics9@yahoo.com, lovepics9@aol.com, and johnadams1.9@yahoo.com. The
subscriber information provided by Dropbox Ine. identified that all of the accounts were
created in the name of “John Adams”. The records from Dropbox Inc. provided the
following information:

a. On or around December 8, 2016, a Dropbox account was created in the name of
“John Adams”, utilizing an email address of littleboysunder@yahoo.com, The logs
of IP addresses identified that the account was last logged into on or around
December 25, 2017. Dropbox Inc.’s records identified that a Boost Mobile Model
N9519 cellular telephone (consistent with TYLER ULM’s telephone) had been
utilized to access the account on approximately fifty-six occasions. Although the
Boost Mobile Model N9519 cellular telephone was primarily utilized to access the
account, several other cellular telephones also accessed the account.

b. On or around January 28, 2017, a Dropbox account was created in the name of “John
Adams”, utilizing an email address of lovepics9@yahoo.com. The logs of IP
addresses identified that the account was last logged into on or around February 13,
2018. Dropbox Inc.'s records identified that a Boost Mobile Model N9519 cellular
telephone (consistent with TYLER U LM’s telephone) had been utilized to access the
account on approximately forty-five occasions. Although the Boost Mobile Model
N9519 cellular telephone was primarily utilized to access the account, several other
cellular telephones also accessed the account.

C: On or around November 20, 2017, a Dropbox account was created in the name of
“John Adams”, utilizing an email address of lovepics9@aol.com. The logs of IP
addresses identified that the account was last logged into on or around January 17,
2018. Dropbox Inc.’s records identified that a Boost Mobile Model N9519 cellular
telephone (consistent with TYLER ULM’s telephone) had been utilized to access the
account on approximately twelve occasions. No other model of cellular telephones

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was utilized to access this account.

d. On or around May 12, 2017, a Dropbox account was created in the name of “John
Adams”, utilizing an email address of johnadams1.9@yahoo.com. The logs of IP
addresses identified that the account was last logged into on or around December 25,
2017. Dropbox Inc.’s records identified that a Boost Mobile Model N9519 cellular
telephone (consistent with TYLER ULM’s telephone) had been utilized to access the
account on approximately fifty-three occasions, Although the Boost Mobile Model
N9519 cellular telephone was primarily utilized to access the account. several other
cellular telephones also accessed the account.

Based on the information detailed above. it appears that the four previously noted Dropbox
accounts were used by an individual who utilized a Boost Mobile Model N9519 cellular
telephone. Based on my training and experience, | know that individuals often create
sharing links to their Dropbox accounts in order to share files with others. Based on the fact
that more than one cellular telephone accessed three of the four Dropbox accounts detailed
above, it appears that the user of the three accounts created sharing links to his account.

Conclusion Regarding Use of Accounts

As detailed above, TYLER ULM denied that he utilized any Kik accounts. any email
accounts other than tylerjulm22@gmail.com and tylerjulm@gmail.com, and any Dropbox
accounts. Based on my training and experience, | know that individuals involved in child
exploitation activities often attempt to conceal the accounts they utilize to carry out their
criminal activities.

Based on all of the information detailed in this Affidavit, there is probable cause to believe
that TYLER ULM is the user of the following accounts:

a. The boysunder9 Kik account:

b. The “Bigman23”, “Littledicklover’. and “Babyboys” accounts on the
SextingForum.net website:

c The tylerjulm22@gmail.com, tylerjulm@gmail.com, and
damonvaughn0@gmail.com Google Accounts:

d. The lovepics9@yahoo.com, d9underboy@yahoo.com, kids9nunderia yahoo.com,
littleboysunder@yahoo.com, johnadams1.9@yahoo.com,

tylerjulm@yahoo.com, and

omkexddwbkit3s2eatevv5zx3bne75kjo4kfarxo@vahoo.com Yahoo email
accounts;
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e. The Flickr accounts associated with the Flickr NSID’s 146969803@N06,
150137400@N03, 146772605(@N03, 145287374@N02, 161195535(@N07, and
147418551@N04:

f. The ahopping0406@aol.com and lovepics9@ aol.com AOL accounts;

g. The Tyler.UIm.7 Facebook account: and

h. The Dropbox accounts associated with the email addresses

littleboysunder@yahoo.com, lovepics9@yahoo.com, lovepics9/a aol.com, and
johnadams1.9@yahoo.com

103. There is also probable cause to believe that TYLER ULM has utilized at least some of the
above noted accounts to possess or attem pt to possess child pornography, receive or attem pt
to receive child pornography, advertise child pornography, and attempt to travel in interstate
commerce with the intent to engage in illicit sexual conduct.

104. Based on my training and experience, | know that individuals involved in child exploitation
offenses and other criminal activities often utilize fictitious names and identifying
information (to include gender and age) when registering the online accounts they utilize in
the commission of the criminal activities. Individuals utilize fictitious names and
identifying information as a means to avoid detection and evade law enforcement officers.
Also based on my training and experience, I know that individuals involved in child
exploitation offenses sometimes utilize multiple aliases as a means to obtain more trading
partners and/or gain access to more victims. Given the use of fictitious names and/or gender
when registering the boysunder9 Kik account, the “Littledicklover” and “Babyboys”
accounts on the SextingForum.net website, and the various Yahoo email accounts, it appears
that TYLER ULM utilized fictitious names and/or multiple aliases.

Evidence Available on Email and Social Media Accounts

105. Based on my training and experience, | am aware that individuals involved in child
exploitation schemes often communicate with others involved in similar offenses about their
victims and sexual activities via e-mail. social media accounts such as Google+ and
Facebook, and online chat programs such as Yahoo Chat and Messenger. I have seen
examples of cases where such individuals have communicated with other child predators
about their sexual fantasies and prior sexual activities with juveniles. I have also seen cases
where such individuals have communicated with others about their remorse and regret for
their activities. Both types of communications provide material evidence in child
exploitation cases in that they provide admissions of guilt.

106. Also in my experience, individuals involved in child exploitation schemes often utilize

social media accounts such as Google+ and Facebook and other websites as a means to
locate and recruit victims. They then use the chat functions on these and other websites, as

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well as email accounts, to communicate with their victims. Such communications provide a
means of anonymity to protect the subjects’ identities and to conceal the communications
from the victims’ parents.

Based on my training and experience, I know that individuals involved in child pornography
offenses often obtain and trade images with each other via a variety of means, including
email, social media accounts such as Facebook and Google+, photo sharing services such as
Google Photos and Flickr, and online chat programs such as Yahoo Messenger. Individuals
also often attempt to obtain child pornography from a variety of sources, including from
those with whom they communicate via email, social media sites, Internet chat programs,
Internet bulletin boards, Internet Peer-to-Peer file sharing programs, Internet websites, and
other sources, I have also seen a number of cases in which individuals email files containing
child pornography to themselves — either from one email account to another or from and to
the same email account — in order to transfer the files from one electronic device to another.

Based on my training and experience, one or more aliases are often used by individuals
involved in child exploitation offenses as a means to avoid detection from law enforcement.
It is not uncommon for such offenders to create multiple identities, sometimes involving
different ages and genders. Offenders sometimes fictitiously portray themselves as juveniles
as a means to gain trust and rapport with victims. Offenders also sometimes obtain
photographs of other individuals from the Internet to use as their profile pictures and/or to
send to the victims.

Based on my training and experience, | know that many social media accounts and Internet
websites require users to provide their email account when registering for the accounts. The
social media account providers and Internet providers then send the users various
notifications regarding messages from other users, information accessed by users,
information available by the websites, and other information. These messages can provide
material evidence in cases involving child exploitation offenses because they help in
identifying what social media and Internet accounts were utilized by the subjects to
communicate with other subjects and victims and what accounts were utilized by the
subjects to find child pornography. In addition, the messages help in identifving the
identities of other subjects and victims.

Also based on my training and experience, | know that individuals frequently post
photographs of themselves and their family members and friends on their social media
accounts and photo sharing services such as Google Photos and Flickr, These photographs
often depict a variety of settings and sometimes reflect their whereabouts. Individuals also
often post written information to their timelines that identifies their whereabouts. In cases
where engage in or atlempt to engage in sexually explicit conduct with children, the
innocuous photographs and postings contained on the offenders’ social media accounts may
be materially relevant in determining the identities of the victims and the locations where the
sexual activities took place.

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111. Indicia of travel that subjects took to engage in criminal sexual activities may be found in
various other forms, to include receipts for purchases of gasoline, hotel receipts and
invoices, receipts for purchases of food and other items, checking account statements, credit
card statements, and various financial documents. The financial documents such as
checking account statements and credit card statements may also provide evidence of items
subjects purchased during the travels. Based on my training and experience, | know that
hotels, financial institutions, and various stores sometimes email these types of documents to
their customers.

112. Also as noted above, email providers maintain various subscriber and user information that
its users provide when registering for its accounts. Some email providers also require
payment for certain services or features. Such information is materially important in cases
where online accounts are utilized to trade child pornography, as this information can help in
confirming the identities of the individuals using the accounts and committing the offenses.

113. As detailed above, Yahoo Profiles may contain account profile pictures and other identifying
information for the users. This information may be materially relevant in investigations
where individuals utilize Yahoo accounts to conduct child exploitation activities because it
may help confirm the identities of the account users and/or provide information about the
account users’ aliases.

114. Email providers maintain various logs of IP addresses utilized to access the accounts. The
IP information is again materially important in child pornography investigations. This
information helps in identifying the subjects and the locations where their computer devices
are located.

Evidence Available on Other Google and Yahoo Accounts

115. Google has the ability to maintain information associated with the Web and Application
history of its users. Such information is materially relevant in child exploitation
investigations, as it may help in identifying websites used by subjects to obtain child
pornography and locate victims. In addition, in cases involving subjects who travel or
attempt to travel to engage in criminal sexual activities, the Web and Application history
maintained by Google may also provide evidence of the Internet searches subjects conduct
to obtain directions to the locations of the criminal activities.

116. Google Drive, Google Photos, and Flickr provide users with cloud computing and online file
storage (as detailed above) and photo storage services. In my experience, individuals with
large collections of child pornography may utilize cloud computing and online storage
accounts as a means to store their files after their hard drives become full. In addition,
individuals utilize these services as a means to conceal their files from others, including law
enforcement.

117. Google Android Backup provides users with the ability to backup data on their cellular
telephones and other electronic devices. Such data can be materially relevant in cases in

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which cellular telephones and other electronic devices are used to commit child exploitation
offenses, as this data may provide historical records of their criminal activities that are no
longer saved on the devices.

Evidence Available on Dropbox Accounts

Dropbox and other cloud storage services provide a means that individuals can use to store
files. In my experience, individuals with large collections of child pornography may utilize
cloud computing and online storage accounts as a means to store their files after their hard
drives become full. In addition, individuals utilize these services as a means to conceal their
files from others, including law enforcement.

Based on information received from Dropbox Inc., | know that Dropbox Inc. maintains basic
subscriber information for its users. including user names, email addresses, and the dates
that they established their accounts. Dropbox Inc. also maintains payment information,
including credit card numbers, when payments are made on the accounts. Such information
can provide material evidence regarding individuals involved in child pornography offenses,
because this information can help identify the subjects and determine what aliases and email
accounts they utilize. In addition, the dates that the accounts were established can help in
identifying the length of time that the criminal activities transpired.

In addition to maintaining the files themselves, Dropbox Inc. also maintains files
documenting various activities associated with its accounts. One such file is entitled
“uploadlog.html”. This file maintains information about the account name, computer name,
and dates that files were uploaded, deleted, and modified. Such information provides
material evidence to child pornography investigations, as the information helps identify the
computer devices utilized by the subjects and when and how the files were received.

Another file maintained by Dropbox Inc. for its accounts is entitled “auth.txt”. This file
maintains logs of IP addresses and devices utilized to access the account. Such information
is important to child pornography investigations because it helps to establish the subjects’
identities, what computer devices are utilized, where the subjects” computers are located,
and when the criminal activities transpired.

A file entitled “links.txt” is another example ofa file maintained by Dropbox Inc. for its
accounts. This file maintains information about files being shared by the user. In cases
involving the trading of child pornography, information about the shared files can be useful
in helping to identify the subjects’ trading activities,

Dropbox Inc. maintains various information about the settings for its users’ accounts. Such
settings include information about computers and other devices linked to the accounts,
Information about what computers and devices are utilized by the subjects is again
materially important to child pornography investigations.

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ELECTRONIC COMMUNICATIONS PRIVACY ACT

124. | anticipate executing the requested warrants for the listed accounts under the Electronic
Communications Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and
2703(c)(1 (A), by using the warrants to require Google Inc., Oath Holdings Inc., Oath Inc..
Facebook Inc., and Dropbox Inc. to disclose to the government copies of the records and
other information (including the contents of communications) particularly described in
Section | of Attachments B-1 through B-5. Upon receipt of the information descri bed in
Section | of Attachments B-1 through B-5, government-authorized persons will review that
information to locate the items described in Section II of Attachments B-1 through B-5.
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CONCLUSION

Based on the aforementioned factual information, I respectfully submit that there is probable
cause to believe that evidence, fruits, and instrumentalities of the following criminal
offenses may be located in the accounts described in Attachments A-1 through A-5: 18
U.S.C. §§ 2252(a)(4)(B) and (b)(1) and 2252A(a)(5)(B) and (b)(1), which make it a crime to
possess or attempt to possess child pornography; violations of 18 U.S.C. §$$2252(a)(2)(B)
and (b)(1) and 2252A(a)(2) and (b)(1), which make it a crime to receive or attempt to
receive child pornography through interstate commerce; violations of 18 U.S.C. §2251(d),
which make it a crime to advertise child pornography; and violations of 18 U.S.C. §2423(b)
and (e), which make it a crime to travel or attempt to travel in interstate commerce with the
intent to engage in illicit sexual conduct.

|, therefore, respectfully request that the attached warrants be issued authorizing the search
and seizure of the items listed in Attachments B-] through B-5,

Because the warrants for the accounts described in Attachments A-1 through A-5 will be
served on Google Inc., Oath Holdings Inc., Oath Inc., Facebook Inc., and Dropbox Inc., who
will then compile the requested records at times convenient to those entities, reasonable
cause exists to permit the execution of the requested_warrants at any time in the day or night.

Oleic:

Special Agent Andrea R. Ridzig
Federal, Bureau of Investigation. /

 

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before me this ZaJ of March 201 8

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Sharon L. Ovington OS
UNITED STATES MAGISTRATE JUDGE

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